 
 

PSYCHOLOGICAL REPORT!

Name: James (Jim) Piccirilli

DOB: 03/22/81 | |

School: Chapelgate Christian Academy (Grade 10; retained in preschool)
Test: WISC-III

Date: 09/30/97

Reason for Referral:

  

An evaluation was requested by the mother because a learning disability 1S suspected. Majo
concerns for Jim include previously identified Attention Deficit/Hyperactivity Disorder and lack o:

organization.

Background Information:

Jim has been previously identified as having Attention Deficit/Hyperactivity Disorder. He was o1
medication (Ritalin) last school year. While on medication Jim did well in school. However, he wen
medication during the school year and then his grades began to fall. He finished ninth grade of
of medication. Thfssaurent school year, in tenth grade, Jim is taking Adderall (10 mg.bid) witl
mixed benefits. Jim’s pediatrician, Dr. Bruce Wells made the diagnosis of Attentio!
Deficit/Hyperactivity Disorder.

 

  
 

 

 

Behavioral Observations:

 
  

Jim is a delightful, intense, sixteen year six month old, male tenth grader with blondw4air worm |
a pony tail and blue eyes. Jim is thinly built and talks quite fast. He came willingly to the eVapatic
room, having no difficulty separating from his parent. In conversations with the examiner, 9
shared the following information about both home and school.

With regards to school, Jim has attended Chapelgate Christian Academy since ninth grat
Previously, he attended a private school named Resurrection St. Paul from grades one through eig
Jim’s favorite school subjects include Math and History. He finds English to be difficult becau
“T don’t like writing. I hate writing.” Jim also indicated that his writing is sloppy and it takes hir
long time to complete writing assignments. Jim is not currently involved in any extracurricu
activities at his school. Jim shared that he has many friends who attend Liberty High School.

At home, Jim lives with his mother, father, younger brother Pat (age-13) and younger sister Jac
(age-9 or 10). Jim shared that his mother works at Resurrection St. Paul School in the cafeteria. |
father owns and runs a quarry in the Marriottsville area. Jim indicated that his favorite activities
